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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

DAVID T. MILLER,

             Plaintiff,
v.                                              CASE NO.: 1:20cv226-MW/GRJ

RUBY TUESDAY,

             Defendant.

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        ORDER ACCEPTING REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge’s Report

and Recommendation, ECF No. 5. Upon consideration, no objections having been

filed by the parties,

      IT IS ORDERED:

      The report and recommendation is accepted and adopted, as this Court’s

opinion. This case is transferred to the United States District Court for the Middle

District of Florida, Jacksonville division. The Clerk shall take all necessary steps to

effect the transfer and close the file.

      SO ORDERED on November 4, 2020.
                                          s/Mark E. Walker
                                          Chief United States District Judge
